Case 12-10297-RGM          Doc 10    Filed 02/20/12 Entered 02/20/12 10:08:43           Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                        For the EASTERN DISTRICT of VIRGINIA
                                 ALEXANDRIA DIVISION


                                                                Chapter:        7
                                                                Case Number: 12-10297-RGM
In re:                                         )               Chapter:
                                                                Assigned to the Honorable:
Abid A. Awan                                   )                Robert G. Mayer
                                               )               REQUEST FOR SPECIAL NOTICE
                                               )               Case Number:
                                                                REQUEST    FOR SPECIAL NOTICE
               Debtor(s)                       )               [No
                                                                [NO HearingRequired]
                                                                   Hearing   Required]

  TO THE CLERK:

                  The undersigned attorneys for:
                    HSBC BANK NEVADA, N.A.
                        BEST BUY CO., INC.

  a creditor of the above referenced debtor.

            Pursuant to the provisions of the Bankruptcy Code and Bankruptcy Rule 2002:

            REQUEST IS HEREBY MADE that HSBC BANK NEVADA, N.A. be given and
  served with all notices given or required to be given in the case as follows:

                             HSBC BANK NEVADA, N.A.
                             Bass & Associates, P.C.
                             3936 E. Ft. Lowell Road, Suite #200
                             Tucson, AZ 85712

            Accordingly, the undersigned attorney further requests that the foregoing
  name and address be added to the Master Mailing List.

  Dated: 02/01/12
  Account Number: ************6353
                                                   Respectfully submitted,
                                                   Bass & Associates, P.C.

                                                   By: /s/ Patti H. Bass (AZ 016849)
                                                      Attorneys for Creditor
                                                      HSBC BANK NEVADA, N.A.
                                                      3936 E Ft Lowell Rd Suite 200
                                                      Tucson, AZ 85712-1083
                                                      (520) 577-1544
                                                      ecf@bass-associates.com
